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                UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF PUERTO RICO


 SAVITRI GUADALUPE DE LA                CIVIL NO.
 MATTA & THE CONJUGAL
 PARTNERSHIP COMPOSED BY HER
 & HER HUSBAND EDWIN IVAN               INJUNCTION RELIEF; AMERICAN
 FELICIANO ALBERT                       WITH DISABILITIES ACT (ADA)
 Plaintiffs                             CLAIM; Sec. 504 REHABILITATION
                                        ACT; CIVIL RIGHTS (1983) CLAIM;
 vs.                                    RETALATION; LOCAL LAWS NO. 44
                                        & 81; DAMAGES AND PUNITIVE
 HIGHWAYS AND TRANSPORTATION            DAMAGES
 AUTHORITY OF PUERTO RICO &
 THE    EXECUTIVE     DIRECTOR
 CARMEN     VILLAR     PRADOS;          JURY TRIAL REQUESTED
 COMMONWEALTH      OF   PUERTO
 RICO HON. CESAR MIRANDA AS
 SECRETARY      OF     JUSTICE;
 DEPARTMENT                  OF
 TRANSPORTATION AND PUBLIC
 WORKS AND HON. MIGUEL A
 TORRES DIAZ IN HIS CAPACITY AS
 SECRETARY OF DTOP
 Defendants


                                  COMPLAINT

TO THE HONORABLE COURT:

      COME NOW, Plaintiff, through the undersigned attorney, very respectfully
states and prays:


                          PRELIMINARY STATEMENT
       1.   This is an action for Declaratory and Injunctive relief, damages and

other relief under the American with Disabilities Act (hereinafter ADA), 42 USC

sec. 1201 et seq.; Sec. 504 of the Rehabilitation Act as amended   at 29 USC sec.

794, 42 USC sec. 1983 and Local Laws No. 81 of 1996 as amended (29 LPRA Sec.

1402), Law No. 44 of July 5, 1985 as amended (ADITA) on behalf of a qualified
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individual with disabilities. Defendant failed to provide Savitri Guadalupe de la

Matta (plaintiff), a person with disabilities, with reasonable accommodations and a

working environment free from hazardous conditions which affected her health

until the present. Furthermore, defendant overruled and refuses to implement the

reasonable accommodation petition requested by the State Insurance Fund in

behalf of plaintiff.

      2.     Plaintiff seeks declaratory and injunctive relief to redress defendant’s

failure to provide her with reasonable accommodations

      3.     Furthermore, Plaintiff requests the Honorable Court to fashion an

appropriate remedy for the deprivations of plaintiff rights pursuant to 42 USC sec.

1983 and 29 U.S.C. Sec. 701 et seq.



                               JURISDICTION AND VENUE


      4.     This Court has jurisdiction to entertain the claims pleaded herein

pursuant to 28 U.S.C sec. 1331, 1343(a)(3), (a)(4). The district court has

supplemental jurisdiction over state law claims pursuant to 28 U.S,C. sec. 1367.

Plaintiff request for declaratory relief is authorized by 28 U.S.C. 2201 and 2202.

      5.     Venue is proper in this district pursuant to 28 U.S.C. 1391 (a) and (b)

      because the events that gave rise to this Complaint occurred in this district.

      6.     All conditions precedent to jurisdiction under 28 U.S.C sec. 1331,

1343(a)(3), (a)(4) and 28 U.S.C. 1391 have occurred or been complied with.

             a.        A timely administrative claim pursuant to ADA was filed at the

                       EEOC (May 13, 2014). EEOC’s Charge No. 16H-2014-00550.

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             b.         This complaint is being filed within 90 days of receipt of Right to

                        sue letter dated January 20th, 2015 .

                                            PARTIES
      7.     Plaintiff SAVITRI GUADALUPE DE LA MATTA is a citizen of the United

States     who    has    been    employed    by   HIGHWAYS      AND    TRANSPORTATION

AUTHORITY OF PUERTO RICO and resides in the municipality of Guaynabo,

Commonwealth of Puerto Rico, which is in this judicial district. Plaintiff is

qualified individual pursuant to ADA and handicapped within the meaning of Sec.

504 of the Rehabilitation Act.

      8.     Plaintiff is married to EDWIN IVAN FELICIANO ALBERT and together

they form a conjugal partnership that appears as co-plaintiff.

      9.     Defendant HIGHWAYS AND TRANSPORTATION AUTHORITY OF

PUERTO RICO (hereinafter HTA) is a public instrumentality or corporation

organized under the laws of the Commonwealth of Puerto Rico (Law Number 141

of July 20, 1960 as amended) in charge of public highways. It is a covered entity

under ADA and the Rehabilitation Act. Defendant receives federal finance

assistance for the programs they administered.

      10.    Defendant CARMEN VILLAR PRADOS is currently the Executive

Director of HTA and as such is responsible (within the Commonwealth of Puerto

Rico) for the administration an implementation of all programs within the

instrumentality, pursuant to several local laws including Law Number 74 of June

23, 1965 as amended, the Organic Law of HTA. Defendant Carmen Villar Prados is

sued in her official capacity as Executive Director of HTA. As such, she has a duty

to insure compliance with federal and state laws.
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      11.   Defendant Department of Transportation & Public Works of Puerto

Rico (hereinafter DTOP) is an agency or subdivision of the Commonwealth of

Puerto Rico. It is a covered entity under ADA and the Rehabilitation Act.

      12.    Defendant MIGUEL A TORRES DIAZ is currently the Secretary of

Department of Transportation & Public Works of the Commonwealth of Puerto

Rico and pursuant to Puerto Rico’s Political Code (3 L.P.R.A. sec. 411-et seq.) is

responsible (within the Commonwealth of Puerto Rico) for the administration an

implementation of all programs within HTA. Defendant Miguel A. Torres Diaz is

sued in her      official   capacity   as Secretary of DTOP    and the      statutory

responsibilities imposed to his office in reference to HTA. As such, he has a duty

to insure compliance with federal and state laws.

      13.   Defendant Honorable Cesar Miranda is the Secretary of Justice in

Commonwealth of Puerto Rico and is mentioned in his official capacity as legal

representative of all public agencies in the Commonwealth.

      14.   Defendants HTA and DTOP have more than 500 employees and

receive federal funds for their daily operations.

      15.   All actions made by Defendants were made under color of law.

                                 STATUTORY SCHEME
      16.    The American with Disabilities Act (42 USC sec. 1201 et seq.,

hereinafter ADA), is a federal antidiscriminatory statute designed to remove

barriers which prevented qualified individuals with disabilities from enjoying the

same employment opportunities that are available to persons without disabilities.

Like the Civil Rights Act of 1964 it prohibits discrimination and seeks to ensure

equal access to equal employment opportunities based on merit. Furthermore, the
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ADA requires employers to consider whether reasonable accommodations could

remove a barrier created by the individual’s disability. Local Laws No. 44 & No. 81,

supra, used a similar approach.

      17.    ADA establishes a process in which the employer must assess a

disabled individual’s ability to perform the essential functions of an specific job

and take steps to reasonable accommodate the employee’s needs. In a case by

case approach, the employer is required to identify whether (and to what extent) a

reasonable accommodation is needed for the qualified employee.

      18.   ADA regulations [29 CFR sec. 1630.2(o)] require the employer to

respond to an individual’s request for reasonable accommodation and began an

“informal interactive process with the individual” pursuant to determine the

appropriate reasonable accommodation it may need.

      19.   It is unlawful for a covered entity not to make reasonable

accommodations to the known physical limitations of an otherwise qualified

employee unless the employer shows undue hardship on the operation of his

business [42 U.S.C. sec. 1212(b)(5)].

      20.   It is unlawful to discriminate, coerce, threaten or harass any

individual because that individual made a charge requesting enforcement of the

ADA provisions. [28 CFR sec. 35.134]. This is a general prohibition of Retaliation

and coercion [42 USC sec. 12203].

      21.   Furthermore, Sec. 504 of the Rehabilitation Act of 1973, as amended,

prohibits discrimination in employment of a qualified handicapped individual in

any program or activity receiving federal financial assistance. Accordingly, “No

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otherwise qualified individual with a disability in the United States, as defined in section

705 (20) of the Rehabilitation Act, shall, solely by reason of his or her disability, be

excluded from the participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial assistance”.

       22.    The remedies, procedures, and rights set forth in section 717 of the Civil

Rights Act of 1964 (42 U.S.C. 2000e-16), including the application of sections 706(f)

through 706 (k) [42 U.S.C. 2000e-5(f) through k)] shall be available, with respect to any

complaint under section 29 USC sec. 791, to any employee or applicant for employment

aggrieved by the final disposition of such complaint, or by the failure to take final action on

such complaint. In fashioning an equitable or affirmative action remedy under such section,

a court may take into account the reasonableness of the cost of any necessary work place

accommodation, and the availability of alternative therefor or other appropriate relief in

order to achieve an equitable and appropriate remedy.

       23.    The remedies, procedures, and rights set forth in title VI of the Civil Rights

Act of 1964 (42 U.S.C. 2000d et seq)shall be available to any person aggrieved by any act

or failure to act by any recipient of Federal assistance or Federal provider of such assistant

under 29 USC section 794.

       24.    Finally, Plaintiff is entitled to requests the Honorable Court to fashion

an appropriate remedy pursuant to 42 USC sec. 1983. See Frazier v. Fairhevan

School, 276 F.3d 52 (1st Cir, 2002).

       25.    Plaintiff demands that the instant 1983 DAMAGES action and all

other federal causes of action be tried before a jury.



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                             STATEMENT OF FACTS

      26.   Plaintiff is a qualified individual under the ADA and the Rehabilitation

Act of 1973 with a severe Allergic Asthma with hypersensitivity to halogens, acute

asthma reactions and severe allergic episodes which substantially limit one or

more of her major life activities. In addition, her medical condition significantly

restricts the duration, manner or conditions in which she can perform major life’s

activities (as compared to an average person). Such medical conditions were

diagnosed in June 2010.

      27.   As a result of Plaintiff’s condition, any strong humidity, fumes or

strong odor may cause a reaction in which Plaintiff experienced a rash,

angioedema and severe bronchitis reaction, causing a contraction that affects her

capacity to breath. Accordingly, Plaintiff’s suffered: nausea, swelling, dizziness &

a strong chest pain caused by the lack of oxygen in the body. The severity of her

reactions required to be taken to emergency for the first time in 2010.

      28.   Plaintiff occupied a position as “Industrial Security Inspector” with the

HTA in the Southern part of Puerto Rico. In October 1, 2010, Plaintiff was

translated to the Minillas Building in response to a request. In January 1, 2011

she was reclassified as an Executive Officer.

      29.   In July 2012 there was an opening for Director of the Office of

Industrial Security. Plaintiff applied for the position and was selected. Since then,

she has occupied such position as Director. As part of her duties, she is in charge




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of all complaints and investigations for violations of OSHA. She also performs

inspections to HTA’s working sites looking for OSHA violations

      30.       At all times material to this action, Plaintiff performance was

satisfactory.

      31.       Plaintiff’s office is in a sick building. PROSHA performed an

inspection\investigation and imposed a penalty [violation to 4 OSH 1910.22(a)(1)}

on HTA and DTOP ($12,000.00 each) who occupied the South Tower at Minillas.

      32.       As a result of the above mentioned investigation, PROSHA produced a

report in December 21, 2012 stating that “the air conditioning duct had dirties

particulate falling that contained oxide metals, fiber glass and fiber plants on the

desk, books, plans, work station, and other areas due to lack of cleaning of

it…Also in the asbestos sampling results in the different floors were found

fiberglass. The fiberglass causes irritation in the eyes, skin, throat and

respiratory system…” (Emphasis supplied).

      33.       Plaintiff’s condition did not improve in Minillas.

      34.       In January 2013 her parking space in Minillas was taken and given to

another person. She wrote a letter to her supervisor (Human Resources Director)

stating the need for a parking place in the building for health reasons. No answer

was provided to her request.

      35.       In April 2013, while working (Plaintiff was attending to a meeting with

attorney Aileen Amador, Executive Assistant to DTOP’s Secretary) in Minillas, she

suffered a severe allergic reaction which requires medical attention.




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      36.   Since       then,   Plaintiff   requested   (several   times)   a   reasonable

accommodation to the Director of Human Resources informally. No response was

provided.

      37.   Plaintiff conditions deteriorated while she was working in a sick

building in Minillas.

      38.   In March 18, 2014, Plaintiff made a formal request for reasonable

accommodation to Human Resources that was never answered.

      39.   The accommodation requested consists of relocating her physical

office to HTA’s offices in Bayamon.

      40.   In March 27, 2014, the Director of Human Resources called Plaintiff

for a meeting and, in retaliation for her petition, instructed her not to report to

work before 7:15am. It must be noted that Plaintiff is a Director (Executive)

exempt from FLSA overtime payment and that such prohibition was not made

extensive to other executive employees.

      41.    In March 28, 2014, while Plaintiff was at a staff meeting she suffered

a severe allergic attack. Plaintiff was removed from Minillas in an ambulance and

was hospitalized at Auxilio Mutuo Hospital until April 1, 2014. She continued in

treatment at home until April 5th, 2014.

      42.   Plaintiff came back to work in April 8th, 2014 but no reasonable

accommodation was granted.

      43.   On May 1, 2014 the State Insurance Fund (SIF) requested reasonable

accommodation in behalf of Plaintiff.




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          44.   Defendant HTA didn’t provide any response to SIF’s request in two

weeks nor began an interactive process with Plaaintiff pursuant to determine the

appropriate reasonable accommodation it may need.

          45.   A claim pursuant to ADA was filed at the EEOC (May 13, 2014).

EEOC’s Charge No. 16H-2014-00550.

          46.   Since then, Plaintiff has been the object of discrimination by

intentionally       denying     a   reasonable    accommodation        and    has    been

intentionally subject to working conditions that put at risk her health and

aggravates her conditions.

          47.   Plaintiff, in order to perform her duties in the “sick building” where

she has her office, must take several medicines and steroids daily.

          48.   In November 7, 2014, Plaintiff wrote a letter to Human Resources new

Director (Zulma I. Mendez Estrada) requesting a response to her unanswered

petition for reasonable accommodation. The letter also stays that the lack of

action from her employer is putting her health at risk.

          49.   To this day, Plaintiff has received no answer to the above mentioned

letter.

          50.   Plaintiffs requested and obtain a “Right to Sue Letter” from EEOC

dated January 20th, 2015.

          51.   For the violations of his statutory rights, described above, plaintiff has

suffered damages and is entitled to an award of punitive and compensatory

damages.

                                     COUNT I
                          DISCRIMINATION BASED ON DISABILITY
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                          (TITLE I OF ADA & Local Law 44)

 52.        Plaintiff incorporates and restates each of the above paragraphs as if

    fully set forth herein.

 53.        Plaintiff is a “qualified individual with a disability” as defined by 42

    U.S.C. sec. 12131(2) and Local Law No. 44.

 54.        Plaintiff has been denied and excluded from her ADA’s rights to

    reasonable accommodation for no reason whatsoever. Defendants have

    completely ignored her petition in violation of federal & Commonwealth

    laws.

 55.        As   a   result   of   Defendants    intentional    denial   of   reasonable

    accommodation, Defendants has unlawfully violated ADA and Local Law No.

    44 by discriminating against Plaintiff by reason of Plaintiff’s disabilities and

    put her health at risk for no reason.

 56.        As   a   direct   and    proximate    result   of   Defendants     unlawful

    discrimination, Plaintiff has sustained injuries and damages (physical and

    emotional) that we estimate in $1,000,000.00.



                          COUNT II
            VIOLATION OF THE REHABILITATION ACT

 57.        Plaintiff incorporates and restates each of the above paragraphs as if

    fully set forth herein.

 58.        Plaintiff is a “disabled/handicapped individual” as defined by 29

    U.S.C. sec. 705.



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 59.       Plaintiff has been denied and excluded from her rights to reasonable

    accommodation under the Rehabilitation Act for no reason whatsoever.

    Defendants have completely ignored her petition in violation of section 504

    of the Act.

 60.       As     a    result   of     Defendants    intentional    denial   of   reasonable

    accommodation, Defendants has unlawfully violated the Rehabilitation Act

    by discriminating against Plaintiff by reason of Plaintiff’s disabilities and put

    her health at risk for no reason.

 61.       As     a    direct   and      proximate    result   of   Defendants      unlawful

    discrimination, Plaintiff has sustained injuries and damages (physical and

    emotional) that we estimate in $500,000.00.


                                COUNT III
                      VIOLATION OF 42 USC SEC. 1983

 62.       Plaintiff incorporates and restates each of the above paragraphs as if

    fully set forth herein.

 63.       Defendants are Commonwealth subdivisions acting under color of

    law.

 64.       Plaintiff    has     been    deprived     and   excluded   from    her   ADA   &

    Rehabilitation Act rights to reasonable accommodation by Defendants for no

    reason whatsoever.

 65.       As a result of Defendants intentional depravation of reasonable

    accommodation, Defendants shall be liable to the party injured (Plaintiff) in

    an action at law, suit in equity, or other proper proceeding.


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 66.       Plaintiff   hereby   requests    the   Honorable   Court   to   fashion   an

    appropriate remedy pursuant to 42 USC sec. 1983 including compensatory

    damages and injunctive relief ordering the reasonable accommodation

    requested to avoid further damage to her health.

                       COUNT IV (RETALIATION)

 67.       Plaintiff incorporates and restates each of the above paragraphs as if

    fully set forth herein.

 68.       In response to Plaintiff’s request for reasonable accommodation and

    the filing of charges at the EEOC, Defendants have intentionally ignored her

    petition and harassed her by denying her a parking place and taking

    selective disciplinary measures against her.

 69.       Defendants actions materially injures or harms Plaintiff (an employee who

    has complained of discrimination) and would dissuade a reasonable worker of the

    futility from making a charge of discrimination.

 70.       As a direct and proximate result of Defendants unlawful retaliation,

    Plaintiff has sustained injuries and damages (physical and emotional) that

    we estimate in $500,000.00.

                       COUNT V (PUNITIVE DAMAGES)

 71.       Plaintiff incorporates and restates each of the above paragraphs as if

    fully set forth herein.

 72.       Defendants engaged in intentional discrimination “with malice or with

    reckless indifference to the federally protected rights of an aggrieved

    individual” 42 U.S.C. sec. 1981a(b)(1).


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   73.      Defendants’ discriminatory actions lacked a glimpse of good faith and

      should be considered “outrageous”.

   74.      For the reasons stated above, Plaintiff is entitled to punitive damages

      and we request that such damages will be for the amount of $1,000,000.00.



                        RELIEF REQUESTED

      Wherefore, Plaintiffs pray that this Court take jurisdiction of this action and

that upon consideration of such further evidence as may be received, issue an

order determining the rights and obligations of the parties and, more specifically:

      (1)   Declaring that Defendants failed to comply with the requirements of

            ADA resulting in a discriminatory denial of Petitioner’s request for

            reasonable accommodation.

      (2)   Awarding the plaintiffs their costs, including attorney fees, court costs

            and other costs necessary for the prosecution of this action.

      (3)   Awarding Damages to compensate for the Retaliation that Plaintiff

            suffered after she filed her EEOC charge;

      (4)   To fashion an appropriate remedy pursuant to 42 USC sec. 1983

            including such further different or additional relief as may be

            appropriate including punitive damages.



      In San Juan, Puerto Rico, this 20th day of APRIL, 2015.



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